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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


 Ledge Lounger, Inc.
                                                   Case No. 24-cv-11267
                 Plaintiff,
                                                   Hon. Thomas L. Ludington
 v.
                                                   Magistrate Judge Patricia T. Morris
 Global Lift Corp.,
 d/b/a Global Pool Products,

                 Defendant.

                                       Stipulated Protective Order

        Plaintiff Ledge Lounger, Inc. (“Ledge”) and Defendant Global Lift Corp. (“Global”)

(together, the “Parties”), by and through their respective counsel, hereby agree to the following

Protective Order.

        1.      This Protective Order shall apply to information, documents, excerpts from

documents, and other materials produced in this action pursuant to Federal Rules of Civil

Procedure governing disclosure and discovery.



        2.      Information, documents, and other materials may be designated by the producing

party in the manner permitted (“the Designating Person”). All such information, documents,

excerpts from documents, and other materials will constitute “Designated Material” under this

Order. The designation shall be either (a) “CONFIDENTIAL” or (b) “CONFIDENTIAL -

ATTORNEYS’ EYES ONLY.” This Order shall apply to Designated Material produced by any

party or third-party in this action.
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       3.      “CONFIDENTIAL” information means information, documents, or things that

have not been made public by the disclosing party and that the disclosing party reasonably and in

good faith believes contains or comprises (a) trade secrets, (b) proprietary business information,

or (c) information implicating an individual’s legitimate expectation of privacy.



       4.      “CONFIDENTIAL - ATTORNEY’S EYES ONLY” means CONFIDENTIAL

information that the disclosing party reasonably and in good faith believes is so highly sensitive

that its disclosure to a competitor could result in significant competitive or commercial

disadvantage to the designating party.



       5.      Designated Material shall not be used or disclosed for any purpose other than the

litigation of this action and may be disclosed only as follows:

               a. Parties: Material designated “CONFIDENTIAL” may be disclosed to parties

                   to this action or directors, officers and employees of parties to this action, who

                   have a legitimate need to see the information in connection with their

                   responsibilities for overseeing the litigation or assisting counsel in preparing

                   the action for trial or settlement. Before Designated Material is disclosed for

                   this purpose, each such person must agree to be bound by this Order by signing

                   a document substantially in the form of Exhibit A.

               b. Witnesses or Prospective Witnesses: Designated Material, including material

                   designated “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES

                   ONLY,” may be disclosed to a witness or prospective witness in this action if

                   the witness or prospective witness is the author, is the addressee, is copied on,




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                 or is otherwise indicated to be a lawful recipient of the Designated Material as

                 indicated by the Designated Material or its source, but it may not be retained by

                 the witness or prospective witness. Before Designated Material is disclosed for

                 this purpose, each such person must agree to be bound by this Order, by signing

                 a document substantially in the form of Exhibit A.

              c. Outside Experts: Designated Material, including material designated

                 “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

                 may be disclosed to an outside expert for the purpose of obtaining the expert’s

                 assistance in the litigation. Before Designated Material is disclosed for this

                 purpose, each such person must agree to be bound by this Order, by signing a

                 document substantially in the form of Exhibit A.

              d. Counsel:     Designated      Material,     including     material     designated

                 “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

                 may be disclosed to counsel of record for parties to this action and their

                 associates, paralegals, and regularly employed office staff.

              e. Other Persons: Designated Material may be provided as necessary to copying

                 services, translators, and litigation support firms. Before Designated Material is

                 disclosed to such third parties, each such person must agree to be bound by this

                 Order by signing a document substantially in the form of Exhibit A.



         6.   Prior to disclosing or displaying any Designated Material to any person, counsel

shall:

              a. Inform the person of the confidential nature of the Designated Material; and




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               b. Inform the person that this Court has enjoined the use of the Designated

                  Material by him/her for any purpose other than this litigation and has enjoined

                  the disclosure of that information or documents to any other person.



       7.      The confidential information may be displayed to and discussed with the persons

identified in Paragraphs 5(b) and (c) only on the condition that, prior to any such display or

discussion, each such person shall be asked to sign an agreement to be bound by this Order in the

form attached hereto as Exhibit A. In the event such person refuses to sign an agreement in

substantially the form attached as Exhibit A, the party desiring to disclose the confidential

information may seek appropriate relief from the Court.



       8.      A person having custody of Designated Material shall maintain it in a manner that

limits access to the Designated Material to persons permitted such access under this Order.



       9.      Counsel shall maintain a collection of all signed documents by which persons have

agreed to be bound by this Order.



       10.     Documents shall be designated by stamping or otherwise marking the documents

with the words “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES ONLY” thus

clearly identifying the category of Designated Material for which protection is sought under the

terms of this Order. Designated Material not reduced to documentary form shall be designated by

the producing party in a reasonably equivalent way.




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        11.      The parties will use reasonable care to avoid designating as confidential documents

or information that does not need to be designated as such.



        12.      A party may submit a request in writing to the party who produced Designated

Material that the designation be modified or withdrawn. If the Designating Person does not agree

to the redesignation within twenty-one business days, the objecting party may apply to the Court

for relief. Upon any such application, the burden shall be on the Designating Person to show why

the designation is proper. Before serving a written challenge, the objecting party must attempt in

good faith to meet and confer with the Designating Person in an effort to resolve the matter. The

Court may award sanctions if it finds that a party’s position was taken without substantial

justification.



        13.      Deposition transcripts or portions thereof may be designated either (a) when the

testimony is recorded, or (b) by written notice to all counsel of record, given within ten business

days after the Designating Person’s receipt of the transcript in which case all counsel receiving

such notice shall be responsible for marking the copies of the designated transcript or portion

thereof in their possession or control as directed by the Designating Person. Pending expiration of

the ten business days, the deposition transcript shall be treated as designated. When testimony is

designated at a deposition, the Designating Person may exclude from the deposition all persons

other than those to whom the Designated Material may be disclosed under paragraph 5 of this

Order. Any party may mark Designated Material as a deposition exhibit, provided the deposition

witness is one to whom the exhibit may be disclosed under paragraph 5 of this Order and the




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exhibit and related transcript pages receive the same confidentiality designation as the original

Designated Material.



       14.     Any Designated Material which becomes part of an official judicial proceeding or

which is filed with the Court is public. Such Designated Material will be sealed by the Court only

upon motion and in accordance with applicable law. This Protective Order does not provide for

the automatic sealing of such Designated Material. If it becomes necessary to file Designated

Material with the Court, a party must move to file the Designated Material under seal.



       15.     Filing pleadings or other papers disclosing or containing Designated Material does

not waive the designated status of the material. The Court will determine how Designated Material

will be treated during trial and other proceedings as it deems appropriate.



       16.     Upon final termination of this action, all Designated Material and copies thereof

shall be returned promptly (and in no event later than forty-five (45) days after entry of final

judgment), returned to the producing party, or certified as destroyed to counsel of record for the

party that produced the Designated Material, or, in the case of deposition testimony regarding

designated exhibits, counsel of record for the Designating Person. Alternatively, the receiving

party shall provide to the Designating Person a certification that all such materials have been

destroyed.



       17.     If a document or information produced in discovery is subject to a claim of

attorney-client privilege, work product, or other immunity (“privileged information”), the




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production of that privileged information, whether inadvertent or otherwise, shall not be deemed

to constitute a waiver of any applicable privileges or protections. Likewise, consistent with Federal

Rule of Evidence 502(d), the inadvertent production of any privileged or work product documents

or information is not a waiver in the pending case or in any other federal or state proceeding. For

example, the inadvertent production of privileged information in this case as part of a production

by a Designating Party is not itself a waiver of any privilege or protection in this matter or any

other federal or state proceeding.



       18.     Nothing in this Order shall require disclosure of information protected by the

attorney-client privilege, or other privilege or immunity, and the inadvertent production of such

information shall not operate as a waiver. If a Designating Party becomes aware that it has

inadvertently produced information protected by the attorney-client privilege, or other privilege or

immunity, the Designating Party will promptly notify each receiving party in writing of the

inadvertent production. When a party receives notice of such inadvertent production, it shall return

all copies of inadvertently produced material within three business days. Any notes or summaries

referring or relating to any such inadvertently produced material subject to claim of privilege or

immunity shall be destroyed forthwith. Nothing herein shall prevent the receiving party from

challenging the propriety of the attorney-client privilege or work product immunity or other

applicable privilege designation by submitting a challenge to the Court. The Designating Party

bears the burden of establishing the privileged nature of any inadvertently produced information

or material. Each receiving party shall refrain from distributing or otherwise using the

inadvertently disclosed information or material for any purpose until any issue of privilege is

resolved by agreement of the parties or by the Court. Notwithstanding the foregoing, a receiving




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party may use the inadvertently produced information or materials to respond to a motion by the

Designating Party seeking return or destruction of such information or materials. If a receiving

party becomes aware that it is in receipt of information or materials which it knows or reasonably

should know is privileged, Counsel for the receiving party shall immediately take steps to (i) stop

reading such information or materials, (ii) notify Counsel for the Designating Party of such

information or materials, (iii) collect all copies of such information or materials, (iv) return such

information or materials to the Designating Party, and (v) comport themselves with the applicable

provisions of the Rules of Professional Conduct.



       19.     The foregoing is entirely without prejudice to the right of any party to apply to the

Court for any further Protective Order relating to Designated Material; or to object to the

production of Designated Material; or to apply to the Court for an order compelling production of

Designated Material; or for modification of this Order; or to seek any other relief from the Court.



       20.     The restrictions imposed by this Order may be modified or terminated only by

further order of the Court.




       IT IS SO ORDERED.

       Dated: August 5, 2024                                         s/Thomas L. Ludington
                                                                     THOMAS L. LUDINGTON
                                                                     United States District Judge




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                                          EXHIBIT A


        I have been informed by counsel that certain documents or information to be disclosed to

me in connection with the matter Ledge Lounger, Inc. v. Global Lift Corp., d/b/a Global Pool

Products have been designated as confidential. I have been informed that any such documents or

information labeled “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES ONLY”

are confidential by Order of the Court.

        I hereby agree that I will not disclose any information contained in such documents to any

other person. I further agree not to use any such information for any purpose other than this

litigation.

                                             NAME: ___________________________________


                                             DATED: __________________________________




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THE FOREGOING IS AGREED TO BY THE PARTIES BY AND THROUGH THEIR

RESPECTIVE COUNSEL OF RECORD:


 /s/ Scott A. Burow with consent                /s/Thomas J. Davis
 Scott A. Burow                                 Thomas J. Davis (P78626)
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